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                                                                                             9 WALGREEN PHARMACY SERVICES MIDWEST, LLC
                                                                                            10                          UNITED STATES DISTRICT COURT
                                                                                            11                         CENTRAL DISTRICT OF CALIFORNIA
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                                                                                            13    JOSEPH PHAM, an individual                   Case No.
                                                                                            14                           Plaintiff,            DEFENDANT WALGREEN
                                                                                            15                                                 PHARMACY SERVICES MIDWEST,
                                                                                                                  v.                           LLC’S NOTICE OF REMOVAL
                                                                                            16
                                                                                                  WALGREEN PHARMACY SERVICES
                                                                                            17    MIDWEST, LLC, a Illinois corporation; [DIVERSITY JURISDICTION]
                                                                                                  YVONE YANG, an individual; and
                                                                                            18    DOES 1 through 10, inclusive
                                                                                            19                           Defendants.
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                                                                                             1         TO THE UNITED STATES DISTRICT COURT FOR THE CENTRAL
                                                                                             2 DISTRICT OF CALIFORNIA AND TO PLAINTIFF AND HIS ATTORNEYS OF
                                                                                             3 RECORD:
                                                                                             4         PLEASE TAKE NOTICE that Defendant Walgreen Pharmacy Services Midwest,
                                                                                             5 LLC (“Defendant”) hereby removes the above-entitled action from the Superior Court of
                                                                                             6 the State of California for the County of Orange to the United States District Court for the
                                                                                             7 Central District of California pursuant to 28 U.S.C. §§ 1332(a), 1441, and 1446, on the
                                                                                             8 grounds that the matter in controversy exceeds the sum or value of $75,000, exclusive of
                                                                                             9 interest and costs, and is between citizens of different states.
                                                                                            10                              PROCEDURAL BACKGROUND
                                                                                            11         1.     On March 16, 2022, Plaintiff commenced a lawsuit against Defendants in the
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                                                                                            12 Superior Court of the State of California for the County of Orange, entitled “Joseph Pham,
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                                                                 Irvine, California 92614




                                                                                            13 an individual, Plaintiff vs. Walgreen Pharmacy Services Midwest, LLC, an Illinois
                                                                                            14 Corporation; Yvone Yang, an individual; and DOES 1 through 10, inclusive, Defendants,”
                                                                                            15 Case No. 30-2022-01249942-CU-WT-CJC.
                                                                                            16         2.     On May 10, 2022, Plaintiff served Defendant Walgreen Pharmacy Services
                                                                                            17 Midwest, LLC’s agent for service of process, Corporation Service Company, with the
                                                                                            18 following documents: (a) Summons; (b) Complaint; (c) Civil Case Cover Sheet; (d)
                                                                                            19 Alternative Dispute Resolution (ADR) Information Package; (e) Alternative Dispute
                                                                                            20 Resolution (ADR) Stipulation; (f) Notice of Hearing Case Management Conference; and
                                                                                            21 (g) Clerk’s Certificate of Service by Mail. A true and correct copy of the Summons to
                                                                                            22 Defendant Walgreen Pharmacy Services Midwest, LLC is attached hereto as “Exhibit 1.”
                                                                                            23 A true and correct copy of the Complaint is attached hereto as “Exhibit 2.” A true and
                                                                                            24 correct copy of the Civil Case Cover Sheet is attached hereto as “Exhibit 3.” A true and
                                                                                            25 correct copy of the Alternative Dispute Resolution (ADR) Information Package is attached
                                                                                            26 hereto as “Exhibit 4.” A true and correct copy of the Alternative Dispute Resolution (ADR)
                                                                                            27 Stipulation is attached hereto as “Exhibit 5.” A true and correct copy of the Notice of
                                                                                            28 Hearing Case Management Conference is attached hereto as “Exhibit 6.” A true and correct

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                                                                                             1 copy of the Clerk’s Certificate of Service by Mail is attached hereto as “Exhibit 7.”
                                                                                             2         3.      Plaintiff has not served Defendant Yang with a Summons or the Complaint.
                                                                                             3 As such, she need not join in this removal for that reason and because she is a “sham”
                                                                                             4 defendant. Destfino v. Reiswig, 630 F3d 952, 955 (9th Cir. 2011); Chambers v. HSBC Bank
                                                                                             5 USA, N.A., 796 F.3d 560, 564-565 (6th Cir. 2015); Farias v. Bexar County Bd. of Trustees
                                                                                             6 for Mental Health Mental Retardation Services, 925 F.2d 866, 871 (5th Cir. 1991).
                                                                                             7         4.      Exhibits 1 through 7 to this Notice of Removal constitute all pleadings,
                                                                                             8 process, and orders served in this action at the time of removal.
                                                                                             9         5.      Plaintiff alleges the following causes of action against Defendant Walgreen
                                                                                            10 Pharmacy Services Midwest, LLC: (1) Discrimination on the Basis of Disability and
                                                                                            11 Requesting/Taking Medical Leave in Violation of FEHA; (2) Harassment on the Basis of
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                                                                                            12 Disability and Taking Medical Leave in Violation of FEHA; (3) Failure to Engage in the
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                                                                                            13 Interactive Process in Violation of FEHA; (4) Failure to Provide Reasonable
                                                                                            14 Accommodation in Violation of FEHA; (5) Discrimination on the Basis of Age in Violation
                                                                                            15 of FEHA; (6) Discrimination on the Basis of Military Status in Violation of FEHA; (7)
                                                                                            16 Retaliation in Violation of California Labor Code section 1102.5; (8) Retaliation in
                                                                                            17 Violation of FEHA; (9) Failure to Prevent Discrimination and Retaliation; (10) Wrongful
                                                                                            18 Constructive Discharge in Violation of Public Policy; and (11) Unfair and Unlawful
                                                                                            19 Business Practices in Violation of Business and Professions Code section 17200 et seq.
                                                                                            20         6.      Plaintiff only alleges the second cause of action for “Harassment on the Basis
                                                                                            21 of Disability and Taking Medical Leave in Violation of FEHA” against Defendant Yang.
                                                                                            22                                   REMOVAL IS TIMELY
                                                                                            23         7.      A case may be removed at any time, provided that neither of the two 30-day
                                                                                            24 periods under 28 U.S.C. § 1446(b)(1) and (b)(3) has been triggered.             Roth v. CHA
                                                                                            25 Hollywood Med. Ctr., L.P., 720 F.3d 1121, 1126 (9th Cir. 2013).
                                                                                            26         8.      28 U.S.C. § 1446(b)(1) provides that, “The notice of removal of a civil action
                                                                                            27 or proceeding shall be filed within 30 days after the receipt by the defendant, through service
                                                                                            28 or otherwise, of a copy of the initial pleading setting forth the claim for relief upon which

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                                                                                             1 such action or proceeding is based . . . .”
                                                                                             2         9.      “[N]otice of removability under § 1446(b)(1) is determined through
                                                                                             3 examination of the four corners of the applicable pleadings[.]” Harris v. Bankers Life &
                                                                                             4 Cas. Co., 425 F.3d 689, 694 (9th Cir. 2005). The Complaint does not “reveal on its face
                                                                                             5 the facts necessary for federal court jurisdiction.” Rea v. Michaels Stores, Inc., 742 F.3d
                                                                                             6 1234, 1238 (9th Cir. 2014) (quoting Harris, 425 F.3d at 691–92). Specifically, it does not
                                                                                             7 reveal on its face that the amount in controversy exceeds $75,000 for traditional diversity
                                                                                             8 purposes.
                                                                                             9         10.     Plaintiff also never served Defendant with any “other paper” sufficient to
                                                                                            10 trigger the second 30-day clock. 28 U.S.C. § 1446(b)(3).
                                                                                            11         11.     Because (a) neither of the two 30-day periods under 28 U.S.C. § 1446(b)(1)
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                                                                                            12 and (b)(3) have been triggered; and (b) Defendant filed this Notice of Removal within 30
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                                                                                            13 days of being served, Defendant’s removal is timely.
                                                                                            14                         PLAINTIFF’S COMPLAINT IS SUBJECT
                                                                                            15                   TO REMOVAL BASED ON DIVERSITY GROUNDS
                                                                                            16         12.     This is a civil action of which this Court has original diversity jurisdiction
                                                                                            17 under 28 U.S.C. § 1332 and is properly removable pursuant to the provisions of 28 U.S.C.
                                                                                            18 sections 1441(a) and (b), because it is a civil action in which the amount in controversy
                                                                                            19 exceeds the sum of $75,000, exclusive of costs and interest, and is between citizens of
                                                                                            20 different states, as set forth below.
                                                                                            21        Complete Diversity of Citizenship Exists Between Plaintiff and Defendants
                                                                                            22         13.     Plaintiff is A Citizen of California. A person is a “citizen” of the state in
                                                                                            23 which he is domiciled. Kantor v. Wellesley Galleries, Ltd., 704 F.2d 1088, 1090 (9th Cir.
                                                                                            24 1983). A person’s domicile is the place he resides with the intention to remain or to which
                                                                                            25 he intends to return. Kanter v. Warner-Lambert Co., 265 F.3d 853, 857 (9th Cir. 2001).
                                                                                            26 Plaintiff alleges that he is a California resident. (Complaint, ¶ 1). He claims that he worked
                                                                                            27 for the Defendant in California for 18 years, from 2003 to 2021. (Complaint, ¶¶ 10, 12, 30).
                                                                                            28 Throughout his entire employment, Plaintiff was employed by Defendant Walgreen

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                                                                                             1 Pharmacy Services Midwest, LLC in California and maintained a residential address in
                                                                                             2 California. (Declaration of Alicia Musgrove (“Musgrove Decl.”), ¶ 2). Therefore, Plaintiff
                                                                                             3 resided in California at the time the action was commenced, for at least 18 years before that,
                                                                                             4 and intends to remain there. Moreover, there is a presumption of citizenship in favor of a
                                                                                             5 party’s established domicile. Tachibana v. Colorado Mountain Dev., Inc., No. CIV 07-
                                                                                             6 00364SPKBMK, 2007 WL 2916134, at *1 (D. Haw. Oct. 2, 2007), report and
                                                                                             7 recommendation adopted, No. 07-00364 SPK-BMK, 2007 WL 4162857 (D. Haw. Nov. 21,
                                                                                             8 2007). As such, Plaintiff is, and at all times since the commencement of this action has
                                                                                             9 been, a resident and citizen of California.
                                                                                            10         14.    Defendant Walgreen Pharmacy Services Midwest, LLC is a Citizen
                                                                                            11 of Illinois, Delaware, Louisiana, and New York. Courts treat limited liability
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                                                                                            12 companies the same as partnerships for diversity jurisdiction purposes and, therefore,
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                                                                                            13 look to the citizenship of each member of the company: “[T]he citizenship of an LLC
                                                                                            14 for purposes of the diversity jurisdiction is the citizenship of its members.” Johnson
                                                                                            15 v. Columbia Properties Anchorage, LP, 437 F.3d 894, 899 (9th Cir. 2006). Unlike a
                                                                                            16 corporation, an LLC is not a citizen of the state in which it was organized unless one
                                                                                            17 of its members is a citizen of that state. Siloam Springs Hotel, L.L.C. v. Century Sur.
                                                                                            18 Co., 781 F.3d 1233, 1237-1238 (10th Cir. 2015).
                                                                                            19         15.    At the time of the filing of this action and continuing through the date of this
                                                                                            20 removal, the members of Walgreen Pharmacy Services Midwest, LLC have been
                                                                                            21 Happy Harry’s, Inc. (“HHI”), Walgreen Louisiana Co., Inc. (“WLC”), Duane Reade,
                                                                                            22 Inc. (“DRI”), and Bond Drug Company of Illinois, LLC (“BDCI”). (Declaration of
                                                                                            23 Joseph B. Amsbary, Jr. (“Amsbary Decl.”), ¶ 2).
                                                                                            24         16.    At the time of the filing of this action and continuing through the date of this
                                                                                            25 removal, HHI has been a corporation incorporated under the laws of the State of
                                                                                            26 Delaware with its principal place of business in Illinois. (Amsbary Decl., ¶ 3). HHI’s
                                                                                            27 corporate headquarters are in Deerfield, Illinois where HHI’s officers direct, control
                                                                                            28 and coordinate HHI’s activities. HHI’s operations are managed from this location,

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                                                                                             1 including, but not limited to, those operations relating to administering company-
                                                                                             2 wide policies and procedures, legal affairs, and general business operations. (Id.)
                                                                                             3        17.    At the time of the filing of this action and continuing through the date of this
                                                                                             4 removal, WLC has been a corporation incorporated under the laws of the State of
                                                                                             5 Louisiana with its principal place of business in Illinois. (Amsbary Decl., ¶ 4).
                                                                                             6 WLC’s corporate headquarters are in Deerfield, Illinois where WLC’s officers direct,
                                                                                             7 control and coordinate WLC’s activities. WLC’s operations are managed from this
                                                                                             8 location, including, but not limited to, those operations relating to administering
                                                                                             9 company-wide policies and procedures, legal affairs, and general business
                                                                                            10 operations. (Id.)
                                                                                            11        18.    At the time of the filing of this action and continuing through the date of this
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                                                                                            12 removal, DRI has been a corporation incorporated under the laws of the State of
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                                                                                            13 Delaware with its principal place of business in Illinois. (Amsbary Decl., ¶ 5). DRI’s
                                                                                            14 corporate headquarters are in Deerfield, Illinois where DRI’s officers direct, control
                                                                                            15 and coordinate DRI’s activities. DRI’s operations are managed from this location,
                                                                                            16 including but not limited to, those operations relating to administering company-wide
                                                                                            17 policies and procedures, legal affairs, and general business operations. (Id.)
                                                                                            18        19.    At the time of the filing of this action and continuing through the date of this
                                                                                            19 removal, the sole member of BDCI has been Walgreen Eastern Co., Inc. (“WEC”).
                                                                                            20 (Amsbary Decl., ¶ 6). At the time of the filing of this action and continuing through
                                                                                            21 the date of this removal, WEC has been a corporation incorporated under the laws of
                                                                                            22 the State of New York with its principal place of business in Illinois. (Id.) WEC’s
                                                                                            23 corporate headquarters are in Deerfield, Illinois where WEC’s officers direct, control
                                                                                            24 and coordinate WEC’s activities. (Id.) WEC’s operations are managed from this
                                                                                            25 location, including but not limited to, those operations relating to administering
                                                                                            26 company-wide policies and procedures, legal affairs, and general business
                                                                                            27 operations. (Id.)
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                                                                                             1         20.     Thus, for diversity purposes, Defendant Walgreen Pharmacy Services
                                                                                             2 Midwest, LLC is a Citizen of Illinois, Delaware, Louisiana, and New York—and not
                                                                                             3 a Citizen of California.
                                                                                             4         21.     Defendant Yang’s Citizenship Should Be Disregarded For Determining
                                                                                             5 Whether Diversity Exists Because She Is A Sham Defendant. Defendant Yang must be
                                                                                             6 disregarded for purposes of diversity because she is a “sham” defendant – i.e., she cannot
                                                                                             7 be found liable as a matter of law. See, e.g., Morris v. Princess Cruises, Inc., 236 F.3d
                                                                                             8 1061, 1067 (9th Cir. 2001).
                                                                                             9         22.     In assessing diversity of citizenship, fraudulently joined defendants are not
                                                                                            10 considered and will not defeat removal. Ritchey v. Upjohn Drug Co., 139 F.3d 1313, 1318
                                                                                            11 (9th Cir. 1998); see also Wilson v. Republic Iron & Steel Co., 257 U.S. 92, 97 (1921). A
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                                                                                            12 defendant is considered fraudulently joined, or a sham defendant, when the plaintiff fails to
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                                                                                            13 state a viable cause of action against the alleged sham defendant and when a defendant
                                                                                            14 shows that there is no possibility the alleged sham defendant could be held liable for any
                                                                                            15 claim. Ritchey, supra, at p. 1318; see also Morris v. Princess Cruises, Inc., 236 F.3d 1061,
                                                                                            16 1067 (9th Cir. 2001) (defendant’s presence in lawsuit is ignored “[i]f the plaintiff fails to
                                                                                            17 state a cause of action against a resident defendant, and the failure is obvious according to
                                                                                            18 the settled rules of the state”) (quoting McCabe v. Gen. Foods Corp., 811 F.2d 1336, 1339
                                                                                            19 (9th Cir. 1987)). However, this does not mean that a defendant cannot be found to have
                                                                                            20 been fraudulently joined solely because the plaintiff asserted a claim against the individual
                                                                                            21 that is permitted by law to be asserted against the defendant. North v. Samsung SDI
                                                                                            22 America, Inc., No. 5:19-cv-05621-EJD, WL 1984020 (N.D. Cal. Apr. 27, 2020); see also
                                                                                            23 Eaton v. Cavalia (USA) Inc., No. C 20-05219 WHA, 2020 WL 6130886, at *2 (N.D. Cal.
                                                                                            24 Oct. 19, 2020).
                                                                                            25         23.     To constitute harassment under FEHA, the workplace must be “permeated
                                                                                            26 with discriminatory intimidation, ridicule and insult that is ‘sufficiently severe or pervasive
                                                                                            27 to alter the conditions of the victim’s employment and create an abusive working
                                                                                            28 environment.’” Nazir v. United Airlines, Inc., 178 Cal. App. 4th 243, 263 (2009). Plaintiff

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                                                                                             1 must demonstrate that: (1) he is a member of a protected group; (2) he was subjected to
                                                                                             2 harassment because he belonged to this group; and (3) the alleged harassment was so severe
                                                                                             3 that it created a hostile work environment. Lawler v. Montblanc N. Am., LLC, 704 F.3d
                                                                                             4 1235, 1244 (9th Cir. 2013). Under the FEHA, harassment includes: “(a) verbal harassment,
                                                                                             5 e.g. epithets, derogatory comments or slurs”; “(b) physical harassment, e.g. assault,
                                                                                             6 impeding or blocking movement, or any physical interference with normal work or
                                                                                             7 movement, when directed at an individual”, or “(c) visual forms of harassment, e.g.
                                                                                             8 derogatory posters, cartoons, or drawings.” Hurd v. Am. Income Life Ins., No. CV-13-05205
                                                                                             9 RSWL-MRW, 2013 WL 5575073, at *3-4 (C.D. Cal. Oct. 10, 2013) (citing to the FEHA’s
                                                                                            10 regulations regarding harassment).
                                                                                            11         24.    There is no possibility that Plaintiff can establish a cause of action for
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                                                                                            12 harassment against Defendant Yang. Plaintiff only alleges that Defendant Yang engaged in
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                                                                                            13 typical management activity, including giving Plaintiff a performance evaluation, offering
                                                                                            14 an alternative position in lieu of terminating Plaintiff due to his poor performance, and
                                                                                            15 disciplining Plaintiff. (Complaint, ¶¶ 18-20, 22, 23, 26, 28).
                                                                                            16         25.    None of the foregoing can possibly be construed as unlawful harassment.
                                                                                            17 Plaintiff does not (and cannot) allege that Defendant Yang made any verbal comments or
                                                                                            18 remarks, physically harassed him in any way, or engaged in any visual form of harassment.
                                                                                            19 (Complaint, ¶¶ 18-20, 22, 23, 26, 28). For that reason, courts have found fraudulent joinder
                                                                                            20 in similar circumstances. See, e.g., Quigley v. United Airlines, Inc., No. 3:21-CV-00538-
                                                                                            21 WHO, 2021 WL 1176687, at *6 (N.D. Cal. Mar. 29, 2021) (finding fraudulent joinder where
                                                                                            22 the “only thing [the defendant] [was] alleged to have done – terminating [the plaintiff]
                                                                                            23 without any arguably discriminatory, harassing, or rude comments or other aggravating
                                                                                            24 circumstances – is not actionable as harassment”); Wexler v. Jensen Pharms., Inc., No. CV-
                                                                                            25 15-03518-ABA (JWX), 2015 WL 6159101, at *5-6 (C.D. Cal. Oct. 20, 2015) (denying the
                                                                                            26 plaintiff’s remand motion and finding fraudulent joinder where the plaintiff could not plead
                                                                                            27 any actionable harassment and pled only management activity that was not harassing in any
                                                                                            28 way); Tipton v. Airport Terminal Services, Inc., No. 2:18-CV-09503-AB-JEM, 2019 WL

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                                                                                             1 185687, at *1 (C.D. Cal. Jan. 14, 2019) (finding fraudulent joinder because the manager’s
                                                                                             2 conduct, which consisted solely of management activity, was not at least “harassing in some
                                                                                             3 way.”); Ramirez v. Little Caesars Enterprises, Inc., No. 2:18-cv-07993-AB-JPR, 2018 WL
                                                                                             4 5816107 (C.D. Cal. Nov. 2, 2018) (finding that the plaintiff had no possibility of
                                                                                             5 establishing a harassment claim against a non-diverse individual defendant because the
                                                                                             6 defendant’s allegedly harassing conduct was primarily management activity).
                                                                                             7         26.    Instead, Defendant Yang’s alleged conduct consists solely of management
                                                                                             8 activity. Indeed, she simply gave Plaintiff a performance evaluation, offered an alternative
                                                                                             9 position in lieu of terminating Plaintiff due to his poor performance, and disciplined
                                                                                            10 Plaintiff. Although Plaintiff mistakenly claims that the foregoing decisions were motivated
                                                                                            11 by unlawful reasons, the remedy is a claim for discrimination or retaliation, not harassment.
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                                                                                            12 (Complaint, ¶¶ 18-20, 22, 23, 26, 28). Indeed, personnel management activity, without
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                                                                                            13 accompanying allegations of egregious comments directed at any employee based on a
                                                                                            14 protected characteristic, cannot support a harassment claim. See, e.g., Lawler v. Montblanc
                                                                                            15 N. Am., LLC, 704 F.3d 1235, 1244 (9th Cir. 2013) (“Unlike discrimination claims,
                                                                                            16 harassment consists of actions outside the scope of job duties which are not of a type
                                                                                            17 necessary to business and personnel management.”) (citation and internal punctuation
                                                                                            18 omitted); Kroeger v. Vertex Aerospace LLC, No. CV 20-3030-JFW(AGRX), 2020 WL
                                                                                            19 3546086, at *12 (C.D. Cal. June 30, 2020) (granting motion to dismiss because the
                                                                                            20 plaintiff’s allegations that defendant “failed to assign him to deployments . . . scheduled
                                                                                            21 employee breaks late, assigned him work he did not desire, and ultimately suspended him
                                                                                            22 and terminated his employment . . . constitute personnel management acts that cannot
                                                                                            23 support a harassment claim”).
                                                                                            24         27.    Plaintiff fails to, and cannot without violating Rule 11, allege that Defendant
                                                                                            25 Yang ever made any hostile, offensive, oppressive, or intimidating remarks about his
                                                                                            26 alleged disability, taking medical leave, age, or military status. Therefore, Defendant Yang
                                                                                            27 is a sham defendant who must be disregarded for removal purposes.
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                                                                                              1          28.      The Citizenship of “Doe Defendants” Must Be Disregarded.                    The
                                                                                              2 citizenship of fictitiously-named “Doe” defendants is to be disregarded for the purposes of
                                                                                              3 removal. 28 U.S.C. § 1441(a).
                                                                                              4                    The Alleged Amount In Controversy Exceeds $75,0001
                                                                                              5          29.    While Defendant denies any liability as to Plaintiff’s claims, the amount in
                                                                                              6 controversy in this action easily exceeds the sum of $75,000. To satisfy the amount in
                                                                                              7 controversy of $75,000, exclusive of interest and costs, is not “daunting,” as courts in the
                                                                                              8 Ninth Circuit recognize that a removing defendant is not obligated to “research, state and
                                                                                              9 prove the plaintiff’s claim for damages.” Muniz v. Pilot Travel Centers LLC, No. CIV. S-
                                                                                             10 07-0325 FCD EFB, 2007 WL 1302504, *2 (E.D. Cal., May 1, 2007). Defendant need only
                                                                                             11 “provide evidence establishing that it is ‘more likely than not’ that the amount in
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                                                                                             12 controversy exceeds” $75,000. Guglielmino v. McKee Foods Corp., 56 F.3d 696, 699 (9th
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                                                                                             13 Cir. 2007).      Thus, “[o]nce the proponent of jurisdiction has set out the amount in
                                                                                             14 controversy, only a ‘legal certainty’ that the judgment will be less forecloses federal
                                                                                             15 jurisdiction.” Brill v. Countrywide Home Loans, Inc., 427 F.3d 446, 447 (7th Cir. 2005).
                                                                                             16          30.    The amount in controversy is determined from the allegations and prayer of
                                                                                             17 the complaint. St. Paul Mercury Indem. Co. v. Red Cab Co., 303 U.S. 283, 289 (1938). If
                                                                                             18 the complaint does not on its face reflect the amount in controversy, the Court may consider
                                                                                             19 facts from the removal petition, as well as evidence submitted by the parties, relevant to the
                                                                                             20 amount in controversy at the time of removal. Singer v. State Farm Mut. Auto. Ins. Co., 116
                                                                                             21 F.3d 373, 377 (9th Cir. 1997).
                                                                                             22          31.    Plaintiff alleges the following causes of action against Defendant Walgreen
                                                                                             23 Pharmacy Services Midwest, LLC: (1) Discrimination on the Basis of Disability and
                                                                                             24 Requesting/Taking Medical Leave in Violation of FEHA; (2) Harassment on the Basis of
                                                                                             25 Disability and Taking Medical Leave in Violation of FEHA; (3) Failure to Engage in the
                                                                                             26 Interactive Process in Violation of FEHA; (4) Failure to Provide Reasonable
                                                                                             27
                                                                                                  Defendant denies any liability whatsoever with respect to Plaintiff’s claims. The sole purpose of
                                                                                                  1

                                                                                             28 this removal is to establish the amount that is in controversy with respect to Plaintiff’s claims.

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                                                                                              1 Accommodation in Violation of FEHA; (5) Discrimination on the Basis of Age in Violation
                                                                                              2 of FEHA; (6) Discrimination on the Basis of Military Status in Violation of FEHA; (7)
                                                                                              3 Retaliation in Violation of California Labor Code section 1102.5; (8) Retaliation in
                                                                                              4 Violation of FEHA; (9) Failure to Prevent Discrimination and Retaliation; (10) Wrongful
                                                                                              5 Constructive Discharge in Violation of Public Policy; and (11) Unfair and Unlawful
                                                                                              6 Business Practices in Violation of Business and Professions Code section 17200 et seq.
                                                                                              7 Defendant Walgreen Pharmacy Services Midwest, LLC expressly denies all of Plaintiff’s
                                                                                              8 claims. However, a plaintiff alleging discrimination, harassment, or retaliation in violation
                                                                                              9 of FEHA may recover damages for past economic loss, future economic loss, past
                                                                                             10 noneconomic loss, and future noneconomic loss, punitive damages, and attorneys’ fees.
                                                                                             11          32.    Here, Plaintiff seeks to recover loss of earnings, benefits, emotional distress,
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                                                                                             12 punitive damages, and attorneys’ fees. (Prayer at ¶¶ 1-9).
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                                                                                             13          33.    Lost Wages.       Defendant Walgreen Pharmacy Services Midwest, LLC
                                                                                             14 expressly denies that Plaintiff is entitled to recover lost wages as it denies that Plaintiff can
                                                                                             15 recover on his underlying claims. However, for purposes of calculating the amount in
                                                                                             16 controversy, Plaintiff’s final hourly rate of pay was $66.29. (Musgrove Decl., ¶ 3). In 2021,
                                                                                             17 Plaintiff earned $29,998.12 between January 1, 2021 and March 25, 2021, when Plaintiff
                                                                                             18 resigned. (Id., ¶ 4; Complaint, ¶ 30). In 2021, Plaintiff earned $2,531.48 per week
                                                                                             19 ($29,998.12 / 11.85 weeks). Since March 25, 2021, more than 62 weeks have passed.
                                                                                             20 Therefore, Plaintiff’s lost wages at the time of removal are at least $156,951.76 ($2,531.48
                                                                                             21 x 62).
                                                                                             22          34.    Emotional Distress and Mental Suffering. Defendant Walgreen Pharmacy
                                                                                             23 Services Midwest, LLC expressly denies that Plaintiff is entitled to recover emotional
                                                                                             24 distress damages as it denies that Plaintiff can recover on his underlying claims. However,
                                                                                             25 for purposes of calculating the amount in controversy, Plaintiff’s complaint seeks
                                                                                             26 unspecified damages for “emotional distress.” (See, e.g., Complaint, ¶ 35). Emotional
                                                                                             27 distress damages are properly considered in the amount in controversy for jurisdiction
                                                                                             28 purposes. See, e.g., Kroske v. US Bank Corp., 432 F.3d 976, 980 (9th Cir. 2005); Cain v.

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                                                                                              1 Hartford Life & Acc. Ins. Co., 890 F.Supp.2d 1246, 1250 (C.D. Cal. 2012); see also
                                                                                              2 Simmons v. PCR Technology, 209 F.Supp.2d 1029, 1034 (N.D. Cal. 2002) (“In fact,
                                                                                              3 emotional distress damages may be considered when calculating the amount in controversy
                                                                                              4 even where not clearly pled in the complaint.”). “To establish the amount of emotional
                                                                                              5 distress in controversy, a defendant may introduce evidence of jury verdicts in other cases.”
                                                                                              6 Cain, 890 F.Supp.2d at 1250 (C.D. Cal. 2012) (citing Rivera v. Costco Wholesale Corp.,
                                                                                              7 No. C 08–02202 CW, 2008 WL 2740399, at *1 (N.D. Cal. July 11, 2008)).
                                                                                              8         35.    In Baghumian v. County of Los Angeles, 2018 WL 3609142 (Los Angeles
                                                                                              9 County Superior Court 2018), the plaintiff, a lifeguard, claimed that he was discriminated
                                                                                             10 against for missing work because of a work-related injury to his hand. He also alleged that
                                                                                             11 he complained about the discrimination, after which he was terminated in retaliation for his
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                                                                                             12 complaints. The jury found for the plaintiff and awarded him $175,000 for emotional
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                                                                                             13 distress. (Archibald Decl., Ex. A).
                                                                                             14         36.    In Villalta v. Leonardo’s Restaurant, Inc. et al., 2016 WL 2941139 (Los
                                                                                             15 Angeles Superior Court), the employee sued her employer for discrimination, retaliation,
                                                                                             16 and harassment in violation of FEHA. The employee was employed by the defendants as a
                                                                                             17 waitress. She claimed that defendant discriminated against her by reducing her work hours
                                                                                             18 and terminating her employment because she was pregnant. The jury returned a verdict for
                                                                                             19 her and awarded her $45,000 in emotional distress damages. (Archibald Decl., Ex. B).
                                                                                             20         37.    In Woods v. City of Inglewood, 2002 WL 33844526 (Los Angeles Superior
                                                                                             21 Court 2002), plaintiff alleged that the Inglewood City Council promoted an African-
                                                                                             22 American police office to the rank of captain and refused to promote plaintiff to the rank of
                                                                                             23 captain because of his race (Caucasian). Plaintiff alleged that he was more qualified for the
                                                                                             24 position and that the City Council discriminated against him because of his race in violation
                                                                                             25 of FEHA. The jury found for the plaintiff and awarded $75,000 in emotional distress
                                                                                             26 damages. (Archibald Decl., Ex. C).
                                                                                             27         38.    In Evans v. Federal Express, 2006 WL 4543813 (N.D. Cal. 2006), plaintiff,
                                                                                             28 an African-American, sued for race discrimination and retaliation in violation of FEHA. He

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                                                                                              1 alleged that defendant reprimanded him and transferred from his shift in retaliation for
                                                                                              2 complains he filed with the Department of Fair Employment and Housing regarding race
                                                                                              3 discrimination. The jury found for the plaintiff and awarded $475,000 in emotional distress
                                                                                              4 damages. (Archibald Decl., Ex. D).
                                                                                              5         39.    In Rosales v. Career Systems Development Corporation, 2010 WL 3918596
                                                                                              6 (E.D. Cal. 2010), defendant terminated plaintiff, claiming that he violated the anti-
                                                                                              7 fraternization policy. Plaintiff claimed that there was an inconsistent application of the anti-
                                                                                              8 fraternization policy, in favor of younger Caucasians and a pattern of terminating older
                                                                                              9 minority employees for specious reasons. Plaintiff alleged claims for race/national origin
                                                                                             10 discrimination, age discrimination, and retaliation in violation of FEHA. The jury found for
                                                                                             11 plaintiff and awarded him $84,000 in emotional distress damages. (Archibald Decl., Ex. E).
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                                                                                             12         40.    In Miller v. Vicorp Inc., 2005 WL 6142218 (N.D. Cal. 2005), plaintiff sued
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                                                                                             13 defendant for age discrimination in violation of FEHA. He alleged that he was wrongfully
                                                                                             14 terminated because of his age after he attempted to return to work after a job related injury.
                                                                                             15 The jury found for plaintiff and awarded him $350,000, all for emotional distress damages.
                                                                                             16 (Archibald Decl., Ex. F).
                                                                                             17         41.    Juries award significant emotional distress damages in retaliation cases. The
                                                                                             18 emotional distress awards in the sampling of six cases set forth in this removal were
                                                                                             19 $45,000, $75,000, $84,000, $175,000, $350,000, and $475,000. Therefore, the amount in
                                                                                             20 controversy with respect to Plaintiff’s request for emotional distress damages is at least
                                                                                             21 $45,000.
                                                                                             22         42.    Punitive Damages. Defendant Walgreen Pharmacy Services Midwest, LLC
                                                                                             23 expressly denies that Plaintiff is entitled to recover punitive damages as it denies that
                                                                                             24 Plaintiff can recover on his underlying claims. However, for purposes of calculating the
                                                                                             25 amount in controversy, Plaintiff’s complaint seeks an unspecified amount for punitive
                                                                                             26 damages. (Complaint, Prayer, ¶ 3). Punitive damages are properly considered in the amount
                                                                                             27 in controversy for jurisdiction purposes. See Davenport v. Mutual Benefit Health and
                                                                                             28 Accident Ass’n, 325 F.2d 785, 787 (9th Cir. 1963) (punitive damages must be taken into

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                                                                                              1 account where recoverable under state law).
                                                                                              2         43.    In Amigon v. Cobe Color Cosmetics, 2009 WL 7497138, a Los Angeles jury
                                                                                              3 awarded a plaintiff $52,000 in punitive damages in a case where the plaintiff alleged, inter
                                                                                              4 alia, retaliation and wrongful termination. Similarly, in a recent Central District case where
                                                                                              5 the Plaintiff alleged, inter alia, retaliation under FEHA, the Court concluded that, based on
                                                                                              6 recent jury verdicts in Southern California, the plaintiff “could receive punitive and
                                                                                              7 emotional distress damages that, standing alone, could meet the $75,000 jurisdictional
                                                                                              8 minimum. . . .” Stainbrook v. Target Corporation, No. 16-cv-00090-ODW, 2016 WL
                                                                                              9 3248665, at *4 (C.D. Cal. June 8, 2016). Therefore, in light of that guidance combined with
                                                                                             10 the available jury verdicts, it is reasonable to assume that the amount in controversy with
                                                                                             11 respect to Plaintiff’s request for punitive damages is at least $50,000.
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                                                                                             12         44.    Attorneys’ Fees. Plaintiff seeks attorneys’ fees in connection with his claims.
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                                                                                             13 (Complaint, Prayer at ¶ 8).       Attorneys’ fees are properly included in the amount in
                                                                                             14 controversy. Galt G/S v. JSS Scandinavia, 142 F.3d 1150, 1156 (9th Cir. 1998) (claims for
                                                                                             15 attorneys’ fees to be included in amount in controversy); Brady v. Mercedes-Benz USA, Inc.,
                                                                                             16 243 F.Supp.2d 1004, 1010-11 (N.D. Cal. 2002) (attorneys’ fees included in determining
                                                                                             17 jurisdictional amount).
                                                                                             18         45.    When, as here, a plaintiff seeks to recover attorneys’ fees, the court must
                                                                                             19 consider future attorneys’ fees when determining the amount in controversy. Fritsch v.
                                                                                             20 Swift Transportation Company of Arizona, LLC, No. 18-55746, 2018 WL 3748667 (9th Cir.
                                                                                             21 Aug. 8, 2018).
                                                                                             22         46.    Defendant Walgreen Pharmacy Services Midwest, LLC expressly denies that
                                                                                             23 Plaintiff is entitled to recover attorneys’ fees as it denies that Plaintiff can recover on his
                                                                                             24 underlying claims.      However, several courts in this district have determined that a
                                                                                             25 reasonable, conservative estimate for attorneys’ fees for purposes of removal in an
                                                                                             26 employment case is to multiply an average hourly rate of $300 with an estimated 100 hours
                                                                                             27 of work. See, e.g., Aguilar v. Wells Fargo Bank, N.A., No. ED CV 15-01833-AB (SPx),
                                                                                             28 2015 WL 6755199 (C.D. Cal. Nov. 4, 2015); Garcia v. ACE Cash Express, Inc., No. SACV

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                                                                                              1 14–0285–DOC (RNBx), 2014 WL 2468344 (C.D. Cal. May 30, 2014), at *5; Sasso v. Noble
                                                                                              2 Utah Long Beach, LLC, No. CV 14–09154–AB (AJWx), 2015 WL 898468, at *6 (C.D. Cal.
                                                                                              3 March 3, 2015); Ponce V. Medical Eyeglass Center, Inc., No. 2:15–CV–04035–CAS
                                                                                              4 (JEMx), 2015 WL 4554336 (C.D. Cal. July 27, 2015), at *4; see also Simmons, 209
                                                                                              5 F.Supp.2d at 1035 (recognizing that “attorneys’ fees in individual discrimination cases often
                                                                                              6 exceed the damages”). Therefore, this Court should adhere to no less than this same
                                                                                              7 conservative estimate and conclude that Plaintiff’s demand for attorneys’ fees adds at least
                                                                                              8 $30,000 to the amount in controversy.
                                                                                              9         47.    Therefore, excluding the additional amounts in controversy relating to
                                                                                             10 Plaintiff’s claims for lost wages through trial, future lost wages, and medical expenses,
                                                                                             11 which will only serve to further increase the amount in controversy, Plaintiff’s alleged
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                                                                                             12 damages place into controversy at least $281,951.76, as summarized below:
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                                                                                             13
                                                                                             14                Claim                                       Amount in
                                                                                             15                                                            Controversy
                                                                                             16                Lost wages                                  $156,951.76
                                                                                             17                Emotional distress damages                  $45,000.00
                                                                                             18                Punitive damages                            $50,000.00
                                                                                             19                Attorneys’ fees                             $30,000.00
                                                                                             20                Total:                                      $281,951.76
                                                                                             21
                                                                                             22         48.    Based upon the foregoing, the amount in controversy in this action easily
                                                                                             23 exceeds the jurisdictional minimum of $75,000.
                                                                                             24         49.    For these reasons, this action is a civil action over which this Court has
                                                                                             25 original jurisdiction pursuant to 28 U.S.C. section 1332, and which may be removed to this
                                                                                             26 Court by Defendant pursuant to 28 U.S.C. section 1441 based on diversity jurisdiction.
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                                                                                              1    THE PROCEDURAL REQUIREMENTS OF 28 U.S.C. § 1446 ARE SATISFIED
                                                                                              2         50.    In accordance with 28 U.S.C. §1446(a), this Notice of Removal is filed in the
                                                                                              3 District in which the action is pending. The Orange County Superior Court is located within
                                                                                              4 the Central District of California. Therefore, venue is proper in this court because it is the
                                                                                              5 “district and division embracing the place where such action is pending.” 28 U.S.C. §
                                                                                              6 1441(a).
                                                                                              7         51.    In accordance with 28 U.S.C. §1446(a), copies of all process, pleadings, and
                                                                                              8 orders served upon Defendants are attached as Exhibits 1-7 to this Notice.
                                                                                              9         52.    In accordance with 28 U.S.C. §1446(d), a copy of this Notice is being served
                                                                                             10 upon Plaintiff, and a notice will be filed with the Clerk of the Superior Court of California
                                                                                             11 for the County of Orange. Notice of Compliance shall be filed promptly afterwards with
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                                                                                             12 this court.
                                  1920 Main Street, Suite 1000
                                                                 Irvine, California 92614




                                                                                             13         53.    As required by Federal Rule of Civil Procedure 7.1 and Local Rule 7-1.1,
                                                                                             14 Defendants concurrently filed their Certificate of Interested Parties.
                                                                                             15                                        CONCLUSION
                                                                                             16                For the foregoing reasons, Defendant hereby removes the above-
                                                                                             17 entitled action to United States District Court for the Central District of California.
                                                                                             18
                                                                                                  Dated: June 9, 2022                     BRYAN CAVE LEIGHTON PAISNER
                                                                                             19                                           LLP
                                                                                             20                                           Allison C. Eckstrom
                                                                                                                                          Christopher J. Archibald
                                                                                             21                                           Karina Lo

                                                                                             22
                                                                                                                                          By:
                                                                                             23
                                                                                                                                                   Christopher J. Archibald
                                                                                             24                                           Attorneys for Defendant
                                                                                                                                          WALGREEN PHARMACY SERVICES
                                                                                             25                                           MIDWEST, LLC
                                                                                             26
                                                                                             27
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                                                                                                                             PROOF OF SERVICE
                                                                                              1                                  CCP 1013a(3)
                                                                                                         (Joseph Pham v. Walgreen Pharmacy Services Midwest, LLC, et al.)
                                                                                              2
                                                                                              3 STATE OF CALIFORNIA, COUNTY OF ORANGE
                                                                                              4        I am employed in the County of Orange, State of California. I am over the
                                                                                                age of 18 and not a party to the within action. My business address is: 1920 Main
                                                                                              5 St., Suite 1000, Irvine, CA 92614-7276.
                                                                                              6         On June 9, 2022, I caused the following document(s) described as:
                                                                                              7 DEFENDANT WALGREEN PHARMACY SERVICES MIDWEST, LLC’S
                                                                                                  NOTICE OF REMOVAL to be served on all interested parties in this action as
                                                                                              8 follows:
                                                                                              9
                                                                                                    Judy Sha                                         Attorneys for Plaintiff
                                                                                             10     THE SHA FIRM, A PROFESSIONAL
                                                                                                    CORPORATION                                      Phone: (714) 485-3818
                                                                                             11     5 Park Plaza, Suite 200                          Fax:
                                                                                                    Irvine, CA 92614                                 E-mail: j.sha@theshafirm.com
Bryan Cave Leighton Paisner LLP




                                                                                             12
                                  1920 Main Street, Suite 1000
                                                                 Irvine, California 92614




                                                                                             13     Shannon Wolf                                     Phone: (949) 276-4214
                                                                                                    THE LAW OFFICE OF SHANNON WOLF                   Fax:
                                                                                             14
                                                                                                    1201 Puerta del Sol, Suite 213                   E-mail: swolf@swolflegal.com
                                                                                             15     San Clemente, CA 92673
                                                                                             16
                                                                                                         [ ] BY MAIL - As follows: I am “readily familiar” with the firm’s practice
                                                                                             17   of collection and processing correspondence for mailing. Under that practice it
                                                                                                  would be deposited with U.S. Postal Service on that same day with postage thereon
                                                                                             18
                                                                                                  fully prepaid at Irvine, California in the ordinary course of business. I am aware
                                                                                             19   that on motion of the party served, service is presumed invalid if postal cancellation
                                                                                                  date or postage meter date is more than one day after date of deposit for mailing in
                                                                                             20
                                                                                                  affidavit.
                                                                                             21
                                                                                                        [   ] BY E-MAIL – I caused a true copy of the foregoing document(s) to be
                                                                                             22 served by electronic email transmission at the time shown on each transmission, to
                                                                                             23 each interested party at the email address shown above. Each transmission was
                                                                                                  reported as complete and without error.
                                                                                             24
                                                                                                        [ ] FEDERAL - I declare that I am employed in the office of a member of
                                                                                             25
                                                                                                  the bar of this Court at whose direction the service was made.
                                                                                             26
                                                                                                        Executed on June 9, 2022, at Irvine, California.
                                                                                             27
                                                                                             28                                                 Angelina M. Andrade


                                                                                                                                                                        PROOF OF SERVICE
